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Joseph J. Haspel, PLLC
39 Casimer Road
Middletown, NY 10941
(845) 694-4409
JHaspel@Haspellaw.net
Attorney for Plaintiff Jason Jorjani

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


JASON JORJANI                                               Civil Action No. 2:18-cv-11693

                         Plaintiff,
                                                              NOTICE OF MOTION
                         v.                               TO RESTORE PRIOR MOTION
                                                                & TO UNSEAL
NEW JERSEY INSITUTE OF TECHNOLOGY,
et al.                                                           MOTION RETURN DATE:
                                                                    APRIL 19, 2021
                         Defendants.




       PLEASE TAKE NOTICE that on April 19, 2021, or as soon as the Court deems

appropriate, counsel for Plaintiff Jason Jorjani shall move pursuant to Local Civil Rule 5.3(c)

before this Honorable Court, at the United States District Court for the District of New Jersey,

Martin Luther King, Jr. Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey, for

the entry of an Order:

       A.      Restoring Plaintiff’s Cross Motion to Unseal the Complaint at DKT. 18 of the

               Companion Case of Jorjani v. Deek, et al., Civil Action No. 2:20-cv-1422;

       B.      Unsealing both the Complaint in the Companion Case (DKT. 4 therein) and

               Exhibit 1 to said Cross Motion in the Companion Case (DKT. 19 therein);
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       C.     Unsealing the materials in Plaintiff’s Objection at DKT. 62 herein (with the

              limited exception of the materials which Plaintiff consents to keep sealed, as

              indicated in the attached Exhibit A, Index in Support and In Opposition to Motion

              to Seal); and

       D.     For such other, further and different relief as the Court deems just and proper.



       PLEASE TAKE FURTHER NOTICE that Plaintiff will rely upon the Affidavit of

Frederick C. Kelly sworn March 22, 2021, with Exhibits attached thereto.

       PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that counsel for Defendants object to the relief in

this motion

 Dated: March 22, 2021                           Joseph J. Haspel, PLLC

                                                 /s/ Joseph J. Haspel
                                                 Joseph J. Haspel, PLLC
                                                 39 Casimer Road
                                                 Middletown, NY 10941
                                                 (845) 694-4409
                                                 JHaspel@Haspellaw.net
                                                 Attorney for Plaintiff
